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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 KASHIKA SPEED,                               No. 1:09-CR-00329 (MAT)
                                              No. 1:15-CV-00755 (MAT)
                                   Movant,
             -vs-                             DECISION AND ORDER
 UNITED STATES OF AMERICA,

                               Respondent.



I.    Introduction

      Movant Kashika Speed (“Speed”), a federal prisoner, moved for

a writ of habeas corpus pursuant to 28 U.S.C. § 2255 on August 21,

2015, claiming that he was sentenced based upon an incorrect

sentencing    range.1   Doc.   491.   On   June   8,   2016,   Speed   filed     a

supplemental § 2255 motion, which argues that his sentence was

rendered retroactively invalid under Johnson v. United States, __

U.S. __, 135 S. Ct. 2551, 2557 (2015) (holding that imposition of

an increased sentence under the residual clause of the Armed Career

Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e), violates due

process, as guaranteed by the Fifth Amendment of the United States

Constitution, because the residual clause is so vague that it

“denies fair notice to defendants and invites arbitrary enforcement

by judges”). Doc. 632. On June 8, 2016, Speed moved for appointment

of counsel. Doc. 633; see doc. 654. For the reasons set forth below,

Speed’s motions are denied.

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        Also pending before the Court is Speed’s “motion to amend/correct” his
original § 2255 motion, which seeks to supplement his original motion by
notifying the Court of authority he deems relevant to the issue of incorrect
sentencing. Doc. 638.
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II.    Discussion

       A.      Appointment of Counsel

       Appointment of counsel under 28 U.S.C. § 2255(g) is governed

by 18 U.S.C. § 3006A(a)(2)(B). There is no constitutional right to

representation by counsel in habeas corpus proceedings. See Green

v. Abrams, 984 F.2d 41, 47 (2d Cir. 1993). However, a court may in

its discretion appoint counsel where “the interests of justice so

require.” 18 U.S.C. § 3006A(a)(2) (B). “Where a movant's claims may

fairly be heard on written submissions, the appointment of counsel

is not warranted and such applications should ordinarily be denied.”

Ballard v. United States, 2012 WL 3765022, *1 (S.D.N.Y. Aug. 30,

2012). In Hodge v. Police Officers, 802 F.2d 58, 61 (2d Cir. 1986),

the Second Circuit noted that, in deciding whether to appoint

counsel, the district court should first determine whether the

indigent's position seems likely to be of substance. Only if the

claim meets this threshold requirement should the district court

then consider the various factors outlined in Hodge. Id. at 61–62.

       Even assuming Speed satisfies the threshold requirement of

indigent status,2 Speed’s claims lack substance. In his first § 2255

motion, Speed challenges his sentence, arguing that the Court

sentenced       him   “without    no    evidence      based   on   unproven    facts”

(doc. 491); however, for the reasons set forth more fully below,

this claim lacks substance. Moreover, there is no indication to the

Court, upon a review of the record in Speed’s criminal case, that

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            Speed has not submitted any information regarding his financial status.

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his sentence was based on a lack of evidence or unproven facts. In

Speed’s later supplemental Johnson motion, he argues that he was

sentenced pursuant to the residual clause of U.S.S.G. § 4B1.2(a)(2),

which, if true, would lead to a substantive claim. See United States

v. Welch, 2016 WL 546656, *4 (2d Cir. Feb. 11, 2016)                    (noting that,

under Johnson, residual clause of § 4B1.2(a)(2) [which is identical

to the ACCA’s residual clause] is now void for vagueness). However,

the record in Speed’s criminal case reveals that his sentence was

not, in fact, enhanced pursuant to § 4B1.2(a)(2). In fact, the

sentencing transcript in Speed’s case indicates that his sentence

was    not   enhanced   based      on    predicate     offenses.    See     doc.   363.

Therefore, Speed’s claim in his supplemental § 2255 motion also

lacks substance, as more fully discussed below. See Hodge, 802 F.2d

at 61. Accordingly, Speed’s motion for appointment of counsel is

denied.

       B.    Speed’s First § 2255 Motion

       As noted above, Speed challenges his sentence, arguing that the

Court sentenced him “without no evidence based on unproven facts.”

Doc. 491. However, Speed has provided no evidence, and the record

contains no indication, that Speed’s sentence was erroneous or

illegal. Speed pled guilty to one count of robbery under the Hobbs

Act, 18 U.S.C. § 1951, in full satisfaction of an eleven-count

indictment. The plea agreement recommended a sentencing range of 151

to 188 months imprisonment. At sentencing, the Court (Arcara, J.),

acknowledged      its   independent        responsibility      to   calculate       the


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appropriate sentencing range, and determined that the correct range

was between 168 to 210 months. The Court accordingly sentenced Speed

to 192 months. Although Speed had waived his right to appeal,

because the sentence exceeded the range stipulated in the plea

agreement by four months, Speed was allowed to and did appeal to the

Second Circuit, which affirmed this Court’s judgment. United States

v. Speed, 636 F. App'x 9, 13 (2d Cir. 2015).

     Speed contends that Molina-Martinez v. United States, 136 S.Ct.

1338 (2016) applies to his case. However, that case involved

application of an incorrect sentencing guideline range; here, the

Court ultimately used the correct guideline range for Speed’s

sentencing. Thus, Molina-Martinez is inapplicable to Speed’s case.

Because Speed has not shown any basis to conclude that he received

an illegal sentence, his conviction and sentence were proper and his

§ 2255 motion lacks merit. See, e.g., Scott v. United States, 2016

WL 3906705, *4 (S.D.N.Y. July 13, 2016).

     C.    Speed’s Second § 2255 Motion

     Speed’s second motion, filed June 8, 2016, contends that he was

sentenced under the “residual clause” of the Sentencing Guidelines

(“the Guidelines”), U.S.S.G. § 4B1.2. That clause is identically

worded to the residual clause of the Armed Career Criminal Act

(“ACCA”), 18 U.S.C. § 924(e), which was recently struck down as

unconstitutionally vague by the Supreme Court in Johnson v. United

States,   __   U.S.   __,   135   S.   Ct.   2551   (2015).    This    Court   has

previously decided that, because the language is identical, the


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Sentencing Guidelines’ residual clause, U.S.S.G. 4B1.2(a)(2), was

rendered unconstitutionally vague under Johnson. See Lee (Antonio

Demario) v. USA, 1:07-CR-00238 (MAT) (W.D.N.Y. Apr. 18, 2016)

(Decision & Order, p. 19-23) (collecting cases).

     Speed’s motion lacks merit because he was not, in fact,

sentenced as a career offender under the Guidelines. Therefore, the

“crime of violence” definition contained within the Guidelines’

residual clause is irrelevant and Johnson is inapplicable. Because

Speed’s sentence does not implicate the residual clause of the

Guidelines, his motion to vacate his sentence pursuant to Johnson

is denied.

III. Conclusion

     For the foregoing reasons, Speed’s motion for appointment of

counsel (doc. 633) is denied and his motions to vacate and correct

his sentence pursuant to 28 U.S.C. § 2255 (docs. 491, 632, 638) are

denied.   The   Clerk   of   the    Court    is   directed    to   close    Case

No. 1:15-CV-00755.

     ALL OF THE ABOVE IS SO ORDERED.

                                            S/Michael A. Telesca

                                              HON. MICHAEL A. TELESCA
                                           United States District Judge

Dated:       August 30, 2016
             Rochester, New York.




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